
Green, J.
delivered the opinion of the court.
This is a presentment for gaming. The presentment was made at the October term of the Dyer Circuit Court, 1840; and charges the gaming to have taken place on the 1st day of September, one thousand and forty. The act of 1824, ch. 5, sec. 4, limits prosecutions for gaming to the period of six months after the offence may have been committed. This presentment alledges the offence here charged, to have been committed more than six months before the prosecution commenced. It follows, that it was not authorized by law, and the defendant should not have been held to answer it. The date of the gaming was doubtless inserted by mistake; but that cannot change the question. The indictment must lay some day, and the day so stated must be a period within which the law authorizes a prosecution to be commenced.
2d. In addition to the above, there is another ground of error in this record. The presentment alledges, that the parties bet “money, bank notes, change tickets, and other valuable things.” The evidence is, they bet “cash notes.” This evidence is plainly inadmissible to support the allegation as to the wager of “money, bank notes, or change tickets,” for the “cash notes” constitute neither of these. Nor would it be admitted, to support the charge, that “other valuable things” were bet. This charge is too vague; for although these words are used in the statute, so as to make it criminal to gamble for any “valuable thing,” the “valuable thing” so bet must be set forth and described in the indictment or presentment.
On both grounds there is error; but as upon this presentment the party ought not to have been held to answer, the judgment must be arrested.
